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                               EXHIBIT 2
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                                                                             Page 1
·1

·2· · · · · · ·UNITED STATES DISTRICT COURT

·3· · · · · · ·SOUTHERN DISTRICT OF FLORIDA

·4· · · · · · · · · · MIAMI DIVISION

·5· OMAR SANTOS AND AMANDA CLEMENTS on

·6· Behalf of themselves and all

·7· Others similarly situated ,

·8
· · · · · · · · ·Plaintiffs,
·9
· · -against-· · · · · · · · · · · · ·Case No.
10· · · · · · · · · · · · · · · · · · 1:19-CV-23084-KMW

11· HEALTHCARE REVENUE RECOVERY

12· GROUP, LLC D/B/A ARS ACCOUNT

13· RESOLUTION SERVICES AND EXPERIAN

14· INFORMATION SOLUTIONS, INC.,

15· · · · · · · · Defendants.

16

17· · · · ·***ALL PARTIES APPEARING REMOTELY***

18

19

20· · · · · ·VIDEOTAPED REMOTE DEPOSITION OF

21· · · · · · · · · ·PATRICIA FINNERAN

22· · · · · · · · · · ·June 11, 2020

23

24· Reported by: Judi Johnson, CSR, RMR, RPR, CRR, CLR

25· Job No: 180554


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·1· · · · · · · ·PATRICIA FINNERAN

·2· · · · · · · · · · · ·June 11, 2020
· · · · · · · · · · · · ·9:17 A.M. PST
·3

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11· · · · ·Videotaped Remote Deposition of

12· ·PATRICIA FINNERAN, all parties appearing

13· ·remotely via telephone and

14· ·videoconference, pursuant to Notice,

15· ·before Judi Johnson, a Certified

16· ·Stenographic Reporter, a Registered Merit

17· ·Reporter, a Registered Professional

18· ·Reporter, a Certified Realtime Reporter

19· ·and a Certified LiveNote Reporter.

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                                                                             Page 3
·1· · · · · · · · · · PATRICIA FINNERAN
·2· ALL APPEARANCES VIA TELEPHONE:
·3· · · · · · BARON & BUDD
·4· · · · · · Attorneys for the Plaintiffs
·5· · · · · · 15910 Ventura Boulevard
·6· · · · · · Encino, CA 91436
·7· · · · · · BY: JONAS MANN, ESQ.
·8
·9
10· · · · · · MCCARTHY & RABURN
11· · · · · · Attorneys for the Plaintiffs
12· · · · · · 2931 Ridge Road
13· · · · · · Rockwall, TX 75032
14· · · · · · BY: DENNIS MCCARTY, ESQ.
15· · · · · · · · JONATHAN RABURN, ESQ.
16
17· · · · · · JONES DAY
18· · · · · · Attorneys for the Defendant
19· · · · · · EXPERIAN INFORMATION SOLUTIONS, INC.
20· · · · · · 600 Brickell Avenue
21· · · · · · Miami, FL 33131
22· · · · · · BY: WILLIAM TAYLOR, ESQ.
23· · · · · · · · A. CRISTINA PÉREZ SOTO, ESQ.
24
25


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                                                                             Page 4
·1· · · · · · · · · · PATRICIA FINNERAN
·2· APPEARANCES (CONTINUED):
·3· · · · · · SHEPARD SMITH KOHLMYER & HAND
·4· · · · · · Attorneys for the Defendant
·5· · · · · · HEALTHCARE REVENUE RECOVERY GROUP, LLC
·6· · · · · · 230 Maitland Center Parkway
·7· · · · · · Maitland, FL 32751
·8· · · · · · BY: ERNEST KOHLMYER, ESQ.
·9
10
11
12
13
14
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18
19
20· ALSO PRESENT:
21· RODOLFO DURAN - LEGAL VIDEO SPECIALIST
22· (VIA TELEPHONE)
23
24
25


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                                                                             Page 5
·1· · · · · · · ·PATRICIA FINNERAN
·2· · · · ·IT IS HEREBY STIPULATED AND AGREED
·3· ·by and between the attorneys for the
·4· ·respective parties herein, that filing and
·5· ·sealing and the same are hereby waived.
·6· · · · ·IT IS FURTHER STIPULATED AND AGREED
·7· ·that all objections, except as to the form
·8· ·of the question, shall be reserved to the
·9· ·time of the trial.
10· · · · ·IT IS FURTHER STIPULATED AND AGREED
11· ·that the within deposition may be sworn to
12· ·and signed before any officer authorized
13· ·to administer an oath, with the same force
14· ·and effect as if signed and sworn to
15· ·before the Court.
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·1· · · · · · · · · · PATRICIA FINNERAN
·2· PATRICIA FINNERAN,
·3· · · · · · · Called as a witness herein, having
·4· · · · first been duly sworn, was examined and
·5· · · · testified as follows:
·6· BY THE REPORTER:
·7· · · · Q· · ·Please state your name and address for
·8· · the record.
·9· · · · A· · ·Patricia Finneran, 643 West Coffee
10· · Tree, Queen Creek, Arizona 85140.
11· · · · · · · THE VIDEOGRAPHER:· Good morning,
12· · · · Counselors, my name is Rodolfo Duran.
13· · · · I'm the legal videographer in
14· · · · association with TSG Reporting, Inc.
15· · · · Due to the severity of the COVID-19 and
16· · · · the practice of social distancing, I
17· · · · will not be in the same room with the
18· · · · witness.· Instead I will record this
19· · · · remotely.· The reporter, Judi Johnson,
20· · · · will not be in the same room and will
21· · · · swear in the witness remotely.
22· · · · · · · Do all parties stipulate to the
23· · · · validity of this video recording, the
24· · · · swearing of the witness, and that it will
25· · · · be admissible in the courtroom as if it


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·1· · · · · · · · · ·PATRICIA FINNERAN
·2· · · ·had been taken following Rule 30 of the
·3· · · ·Federal Rules and of Civil Procedures and
·4· · · ·the state rules where this case is
·5· · · ·pending?
·6· · · · · · ·THE STENOGRAPHER:· Do you all
·7· · · ·stipulate?
·8· · · · · · ·MR. TAYLOR:· Yes.
·9· · · · · · ·THE VIDEOGRAPHER:· This is the
10· · · ·start of media labeled Number 1 of the
11· · · ·video-recorded deposition of Patricia
12· · · ·Finneran in the matter of Omar Santos,
13· · · ·et al., versus Healthcare Revenue
14· · · ·Recovery Group, et al., filed in the
15· · · ·United States District Court, Southern
16· · · ·District of Florida, Miami Division.
17· · · · · · ·Today is June 11th, 2020.· The time
18· · · ·is 9:20, Mountain Standard Time.
19· · · · · · ·Will counsel please introduce
20· ·themselves.
21· · · · · · ·MR. MANN:· Jonas Mann from Baron &
22· · · ·Budd for plaintiffs.
23· · · · · · ·MR. RABURN:· Jonathan Raburn,
24· · · ·McCarthy & Raburn, for the plaintiffs.
25· · · · · · ·MR. McCARTY:· Dennis McCarty for


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                                                                             Page 8
·1· · · · · · · · · · PATRICIA FINNERAN
·2· · · · plaintiffs, McCarthy & Raburn.
·3· · · · · · · MR. TAYLOR:· This is Will Taylor
·4· · · · on behalf of defendants, Experian
·5· · · · Information Solutions, Inc., and the
·6· · · · witness.
·7· · · · · · · MS. PEREZ SOTO:· Good morning.
·8· · · · Cristina Pérez Soto, also for Experian
·9· · · · Information Solutions, Inc.
10· · · · · · · MR. KOHLMYER:· Ernest Kohlmyer for
11· · · · HRRG.
12· · · · · · · (Whereupon, a discussion was held off
13· · · · the record.)
14· · · · · · · THE VIDEOGRAPHER:· The time is
15· · · · 9:22 a.m.· And we're going off the
16· · · · record.
17· · · · · · · (Whereupon, a break was taken.)
18· · · · · · · THE VIDEOGRAPHER:· The time is
19· · · · 9:29 a.m. and we're back on the record.
20· PATRICIA FINNERAN,
21· · · · · · · Called as a witness herein, having
22· · · · first been duly sworn, was examined and
23· · · · testified as follows:
24· · · · · · · THE WITNESS:· Can you hear me now?
25· · · · · · · MR. MANN:· Yes.· Great.


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                                                                              Page 9
·1· · · · · · · · · · PATRICIA FINNERAN
·2· ·EXAMINATION
·3· · · · Q· · ·Did you say yes to her question?
·4· · · · A· · ·I did.· I said "I do."
·5· · · · Q· · ·Okay.· Good morning.· Thank you for
·6· · your patience.· We're just getting started.
·7· · · · · · · Have you ever had your deposition
·8· · taken before?
·9· · · · A· · ·Yes, I have.
10· · · · Q· · ·About how many times?
11· · · · A· · ·Probably eight to ten, approximately.
12· · I don't know exactly.
13· · · · Q· · ·You said "probably eight to ten"; is
14· · that correct?
15· · · · A· · ·Yes, approximately.· I don't know the
16· · exact number.
17· · · · Q· · ·Okay.· I'm just having a little
18· · trouble hearing you.· You're breaking in and
19· · out.
20· · · · A· · ·Okay.· Is that better?
21· · · · Q· · ·That's better.· Okay.
22· · · · · · · Have all those depositions been in
23· · relation to your employment with Experian?
24· · · · A· · ·Yes.
25· · · · Q· · ·And do you understand that even though


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·1· · · · · · · · · ·PATRICIA FINNERAN
·2· ·we're not in a regular conference room, you
·3· ·understand you're under oath as you would be in
·4· ·a court of law; is that correct?
·5· · · ·A· · ·Yes.
·6· · · ·Q· · ·Okay.· Since you've had your
·7· ·deposition taken before you probably know all
·8· ·this but I'll just go over a few ground rules
·9· ·very quickly.· It's very important that we do
10· ·the best we can to get a clean transcript.· So
11· ·please let me finish my question before you
12· ·start your answer and I will do the same, let
13· ·you finish your answer before I ask the next
14· ·question.
15· · · · · · ·Is that fair?
16· · · ·A· · ·Yes.
17· · · ·Q· · ·And from time to time your attorney,
18· ·Mr. Taylor, may pose interpose an objection,
19· ·just wait for him to finish and then he may
20· ·instruct you not to answer.· But if he does not
21· ·instruct you not to answer, you still have to
22· ·answer the question after the objection.
23· · · · · · ·Do you understand that?
24· · · ·A· · ·Yes.
25· · · ·Q· · ·Okay.· And if at any time you want to


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·1· · · · · · · · · ·PATRICIA FINNERAN
·2· ·take a break, that's fine.· It's not a marathon,
·3· ·but I do ask if there's a question pending that
·4· ·we get an answer before we take a break.
·5· · · · · · ·Is that fair?
·6· · · ·A· · ·Yes.
·7· · · ·Q· · ·Okay.· And I know that I have a
·8· ·tendency to talk fast which is probably made
·9· ·worse by being on the phone.· So if you can't
10· ·understand me or I'm going too fast, just let me
11· ·know, I'm happy to slow down and say it again.
12· · · · · · ·MR. MANN:· I'm going to mark the
13· · · ·first exhibit, Exhibit 1.
14· · · · · · ·THE WITNESS:· Okay, sorry.
15· · · · · · ·MR. MANN:· I just have to upload
16· · · ·it to the system as well.· You should
17· · · ·have Plaintiffs' Second Amended Notice
18· · · ·of Deposition of Experian Information
19· · · ·Solutions, Inc.
20· · · · · · ·(Whereupon, Plaintiffs' Second Amended
21· · · ·Notice of Deposition of Experian Information
22· · · ·Solutions, Inc. Under Rule 30(B)(6) of the
23· · · ·Federal Rules of Civil Procedure was marked
24· · · ·as Plaintiff's Exhibit 1 for identification,
25· · · ·as of this date.)


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·1· · · · · · · · · ·PATRICIA FINNERAN
·2· ·BY MR. MANN:
·3· · · ·Q· · ·Do you have that deposition notice?
·4· · · ·A· · ·I do.
·5· · · ·Q· · ·Okay.· And you understand that you're
·6· ·here today to testify on behalf of Experian on
·7· ·the Topics 13, 14, 15, 17, 18, and 39 as it
·8· ·relates to Interrogatories 1, 4, and 5; is that
·9· ·correct?
10· · · ·A· · ·Yes, that's correct.
11· · · ·Q· · ·Okay.
12· · · · · · ·MR. TAYLOR:· I'd just note on the
13· · · ·record that the designations were made
14· · · ·subject to our written objections and
15· · · ·designations served on all parties.
16· ·BY MR. MANN:
17· · · ·Q· · ·Ms. Finneran, did you do anything to
18· ·prepare for your deposition today?
19· · · ·A· · ·Yes.
20· · · ·Q· · ·And what did you do?
21· · · ·A· · ·I --
22· · · · · · ·MR. TAYLOR:· I would just object
23· · · ·to the extent that -- I'm sorry.                 I
24· · · ·would just object to the extent the
25· · · ·question calls for revealing


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                                                                             Page 13
·1· · · · · · · · · ·PATRICIA FINNERAN
·2· · · ·attorney-client communications and
·3· · · ·caution the witness not to reveal the
·4· · · ·contents of any of those communications.
·5· · · · · · ·(Reporter clarification.)
·6· ·BY MR. MANN:
·7· · · ·Q· · ·Ms. Finneran, for all these questions
·8· ·I don't want to know the substance of any
·9· ·conversations you had with counsel.
10· · · · · · ·So with that, what did you do to
11· ·prepare for your deposition today?
12· · · ·A· · ·I met with counsel to review the
13· ·notice for the items in which I have been
14· ·designated to testify on.
15· · · ·Q· · ·Did you do anything else?
16· · · ·A· · ·I also, as part of my testimony here,
17· ·I did review some aspects of the class data that
18· ·I'm here to speak about.· So I did do some
19· ·review of that data as well.
20· · · ·Q· · ·Anything else?
21· · · ·A· · ·No, that's all.
22· · · ·Q· · ·Did you discuss your deposition
23· ·testimony with anyone other than your attorneys?
24· · · ·A· · ·No.
25· · · ·Q· · ·Did you review any documents in


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·1· · · · · · · · · ·PATRICIA FINNERAN
·2· ·preparation for your deposition?
·3· · · ·A· · ·I reviewed the exhibits, more copies
·4· ·which I received yesterday, went through those
·5· ·as well as some of the interrogatory responses
·6· ·that are relative to the testimony I'm here to
·7· ·give today.
·8· · · ·Q· · ·Anything else?
·9· · · ·A· · ·No, that's all.
10· · · ·Q· · ·You said that you reviewed some of the
11· ·class data.
12· · · · · · ·What specifically did you look at?
13· · · ·A· · ·The criteria and then some of the data
14· ·to ensure that it met the class criteria that
15· ·were used in which to construct the query to
16· ·extract the data.
17· · · ·Q· · ·Okay.· And, obviously, we're going to
18· ·get into that a little later.
19· · · · · · ·Now, did you meet with counsel?
20· · · ·A· · ·Yes, I met with counsel.
21· · · ·Q· · ·For approximately how long?
22· · · ·A· · ·Over the last -- course of the last
23· ·several days, throughout the case as we were
24· ·building the criteria for the class data and
25· ·then in preparation for today's deposition.


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·1· · · · · · · · · ·PATRICIA FINNERAN
·2· · · ·Q· · ·What would you estimate how many hours
·3· ·that would be?
·4· · · ·A· · ·Oh, gosh.· I'm not sure.· Probably six
·5· ·hours over the course of the last couple of
·6· ·weeks meeting with my lawyers.· And then in
·7· ·review of the class data, probably, I don't
·8· ·know, 15 hours or so of work that I looked at.
·9· · · ·Q· · ·You're currently employed by Experian?
10· · · ·A· · ·Yes, I am.
11· · · ·Q· · ·And how long have you worked for
12· ·Experian?
13· · · ·A· · ·39 years and 11 months.
14· · · ·Q· · ·That is incredible.· It is very rare
15· ·to find somebody who's worked at the same place
16· ·for so long.
17· · · · · · ·What is your current position at
18· ·Experian?
19· · · ·A· · ·I am a senior director of data
20· ·accuracy.
21· · · ·Q· · ·You said you're "a senior director."
22· ·Are there other senior directors of data
23· ·accuracy?
24· · · ·A· · ·No.· I'm the -- just me.
25· · · ·Q· · ·Okay.· And how long have you been in


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·1· · · · · · · · · ·PATRICIA FINNERAN
·2· ·that position?
·3· · · ·A· · ·As senior director, I've held that
·4· ·title for one year.
·5· · · ·Q· · ·And how long have you worked in data
·6· ·accuracy generally?
·7· · · ·A· · ·As a title of data accuracy, it's been
·8· ·approximately three years.
·9· · ·         · ·
10· ·
11· · ·         · ·
12· ·
13· ·
14· ·
15· · · · · · ·(Reporter clarification.)
16· ·BY MR. MANN:
17· · · ·Q· · ·To whom do you report at Experian?
18· · · ·A· · ·I report to Donna Smith.
19· · · ·Q· · ·And what is Ms. Smith's title?
20· · · ·A· · ·She is the chief data officer.
21· · · ·Q· · ·Do you have any reports?
22· · · ·A· · ·No, I do not.
23· · · ·Q· · ·Do you work on a team with anybody
24· ·else?
25· · · ·A· · ·I work on a team within Donna Smith's
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                                                                             Page 17
·1· · · · · · · · · ·PATRICIA FINNERAN
·2· ·organization as an individual contributor, but
·3· ·there's a whole team they all play different
·4· ·roles.
·5· · · ·Q· · ·How many people are on that team?
·6· · · ·A· · ·On her leadership team there are five,
·7· ·I believe.· Five or six people.
·8· · · ·Q· · ·Does the team have a title?
·9· · · ·A· · ·I'm sorry?
10· · · ·Q· · ·Does the team have a title?
11· · · ·A· · ·It's -- I don't think it has an actual
12· ·title.· It's a department.· So we all work in
13· ·the data operations department, if you will,
14· ·within Experian.
15· · · ·Q· · ·Okay.· And how many people work in the
16· ·data operations department?
17· · · ·A· · ·I don't know the number offhand.· We
18· ·have -- there's some data processing that goes
19· ·on in Costa Mesa.· There's eight to ten people,
20· ·I believe, on the team there.· And then there's
21· ·another processing center in Santiago, Chile,
22· ·and I don't -- I don't know the number of
23· ·employees there.
24· · · ·Q· · ·Where are you located?
25· · · ·A· · ·I'm based out of Costa Mesa -- Costa


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·1· · · · · · · · · ·PATRICIA FINNERAN
·2· ·Mesa, California, offices, but I work full-time
·3· ·from my home in Arizona.
·4· · · ·Q· · ·Okay.· So you said there are data
·5· ·operations people working in Costa Mesa and in
·6· ·Santiago, Chile.
·7· · · · · · ·Anywhere else?
·8· · · ·A· · ·No, that's all.
·9· · ·         · ·
10· ·
11· · · · · · ·
12· · · · · ·
13· · · · · · ·
14· ·
15· · · ·Q· · ·
16· · ·      · · ·
17· · ·         · ·
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13· · · · · · ·MR. MANN:· Let's take a look at
14· · · ·Exhibit 2, which is the complaint.
15· · · · · · ·(Whereupon, the Class Action Complaint
16· · · ·was marked as Plaintiff's Exhibit 2 for
17· · · ·identification, as of this date.)
18· ·BY MR. MANN:
19· · · ·Q· · ·Do you have Exhibit 2 in front of you?
20· · · ·A· · ·I do.
21· · · ·Q· · ·Have you ever seen the complaint in
22· ·this case before?
23· · · ·A· · ·I reviewed it in preparation with my
24· ·attorney for the case today.
25· · · ·Q· · ·Had you seen it prior to that?
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·1· · · · · · · · · ·PATRICIA FINNERAN
·2· · · ·A· · ·I do not believe so, no.
·3· · · ·Q· · ·Okay.· Do you know when you became
·4· ·aware of the complaint?
·5· · · ·A· · ·Aware of this case?
·6· · · ·Q· · ·Yes.
·7· · · ·A· · ·It would have been towards the end of
·8· ·last year, I think, sometime in the fourth
·9· ·quarter.· I don't know the exact date.
10· · · ·Q· · ·Sometime in the fourth quarter of
11· ·2019?
12· · · ·A· · ·2019, yes.
13· · · ·Q· · ·Do you have an understanding what the
14· ·case is about?
15· · · ·A· · ·A basic understanding, yes.
16· · · ·Q· · ·And what is your understanding?
17· · · ·A· · ·That the case --
18· · · · · · ·MR. TAYLOR:· Object to form.
19· · · · · · ·THE WITNESS:· My understanding is
20· · · ·the case is about the data status on
21· · · ·certain collection accounts with date
22· · · ·status being updated and moved.
23· ·BY MR. MANN:
24· · · ·Q· · ·And how did you come to that
25· ·understanding?


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·2· · · ·A· · ·Understanding of the case?· It was --
·3· · · ·Q· · ·Yes.
·4· · · ·A· · ·It was a discussion with the
·5· ·attorney -- it was a discussion with our
·6· ·attorneys, my attorneys.
·7· · · ·Q· · ·Have you discussed this case with
·8· ·anyone other than Experian's counsel?
·9· · · ·A· · ·I discussed it with Experian internal
10· ·counsel and Jones Day, our external counsel.
11· ·But, no, that would be all.
12· · · ·Q· · ·No one else in your department?
13· · · ·A· · ·I haven't discussed -- I have not
14· ·discussed the actual case.· I had conversations
15· ·with my developer on the class data that was
16· ·requested to be identified and extracted from
17· ·the system.· So I had those conversations, but
18· ·that was the extent of the conversation.
19· · · ·Q· · ·And who was that developer?
20· · · ·A· · ·Mike Patel.
21· · · · · · ·(Reporter clarification.)
22· · · · · · ·THE WITNESS:· P-A-T-E-L.
23· ·BY MR. MANN:
24· · · ·Q· · ·Where is Mr. Patel located?
25· · · ·A· · ·He's located in our Costa Mesa,


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·2· ·California, offices.
·3· · · ·Q· · ·Have you had discussions with anybody
·4· ·else?
·5· · · ·A· · ·Other than -- other than counsel, no.
·6· · · ·Q· · ·Prior to this lawsuit, had you ever
·7· ·been aware of an issue with date status on
·8· ·collection accounts being moved?
·9· · · ·A· · ·No.
10· · · · · · ·MR. TAYLOR:· Object to the form of
11· · · ·the question.
12· ·BY MR. MANN:
13· · · ·Q· · ·Specifically prior to this lawsuit,
14· ·had you ever been aware of an issue with HRRG
15· ·purported accounts not properly --
16· · · · · · ·(Reporter clarification.)
17· · · · · · ·MR. MANN:· Sure.
18· ·BY MR. MANN:
19· · · ·Q· · ·Prior to this lawsuit, had you ever
20· ·been aware of an issue with HRRG reported
21· ·accounts not properly displaying data status,
22· ·first reported dates, or payment history?
23· · · · · · ·MR. TAYLOR:· Object to the form.
24· · · · · · ·MR. KOHLMYER:· Object to form.
25· · · · · · ·THE WITNESS:· No, I was not.


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·1· · · · · · · · · ·PATRICIA FINNERAN
·2· ·BY MR. MANN:
·3· · · ·Q· · ·Do you know who I'm talking about when
·4· ·I refer to "HRRG"?
·5· · · ·A· · ·Yes, I do.
·6· · · ·Q· · ·Sorry, you can get on to the next one.
·7· · · · · · ·Looking back at the first exhibit on
·8· ·Page 5, Topic 14:
·9· · · · · · · · "The identity, job title, and
10· · · · · · · · location of your employees,
11· · · · · · · · contractors, and/or agents who
12· · · · · · · · participated in Experian's gathering
13· · · · · · · · of information necessary to respond
14· · · · · · · · to Plaintiffs' Request for
15· · · · · · · · Interrogatories Numbers 1 through 7."
16· · · · · · ·Do you see that?
17· · · ·A· · ·Yes.· Yes, I do.
18· · · ·Q· · ·Aside from you and Mr. Patel that you
19· ·identified, is there anyone else who was
20· ·involved in that process?
21· · · ·A· · ·No, there was not.
22· · · ·
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15· · · · · · ·MR. MANN:· I want to take a look
16· · · ·at Exhibit 5, which is Experian's Second
17· · · ·Supplemental Objections and Responses to
18· · · ·Plaintiffs' Interrogatories 1, 4, and 5.
19· · · · · · ·(Whereupon, Defendant Experian
20· · · ·Information Solutions, Inc.’s Second
21· · · ·Supplemental Objections and Responses to
22· · · ·Plaintiffs’ Interrogatories 1, 4 and 5 was
23· · · ·marked as Plaintiff's Exhibit 5 for
24· · · ·identification, as of this date.)
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23· · · · · · ·MR. MANN:· Okay.· Can we take a
24· · · ·short break?
25· · · · · · ·THE WITNESS:· Okay.
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·2· · · · ·MR. MANN:· Will, that's okay?
·3· · · · ·MR. TAYLOR:· Yes, absolutely.
·4· · · · ·MR. MANN:· Okay, great.
·5· · · · ·THE VIDEOGRAPHER:· The time is
·6· ·10:25 a.m. and we're going off the
·7· ·record.
·8· · · · ·(Whereupon, a break was taken.)
·9· · · · ·THE VIDEOGRAPHER:· The time is
10· ·10:44 a.m. and we're back on the record.
11· · · · ·MR. MANN:· Ms. Finneran, I don't
12· ·have any more questions at this time.
13· · · · ·THE WITNESS:· Okay.· Thank you.
14· · · · ·MR. TAYLOR:· I have no questions.
15· · · · ·MS. PEREZ SOTO:· Nothing from
16· ·Experian.· We request read and sign and
17· ·an opportunity to review for
18· ·confidentiality pursuant to the
19· ·protection order.
20· · · · ·THE VIDEOGRAPHER:· The time is
21· ·10:45 a.m. and we're going off the
22· ·record.
23· · · · · ·(Time noted 10:45 a.m.)
24· · · · · · · · · · · ·____________________
25· · · · · · · · · · · · PATRICIA FINNERAN


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· ·   · · · · · ·    Solutions, Inc. Under
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·1· · · · · · · · · · PATRICIA FINNERAN
·2· · · · · · · · C E R T I F I C A T E
·3
·4· · · · · · I, JUDI JOHNSON, a steonographic reporter
·5· · and RMR, RPR, CRR, CSR, CLR, do hereby certify:
·6· · · · · · THAT the witness whose testimony is
·7· · hereinbefore set forth, was duly sworn by me; and
·8· · · · · · THAT the within transcript is a true record
·9· of the testimony given by said witness.· I further
10· · certify that I am not related, either by blood or
11· · marriage, to any of the parties to this action; and
12· · · · · · THAT I am in no way interested in the
13· · outcome of this matter.
14· · · · · · IN WITNESS WHEREOF, I have hereunto set
15· my hand this 24th day of June, 2020.
16
17· _______________________________________
18· JUDI JOHNSON, RMR, CRR, RPR, CLR, CSR
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·1· · · · · · · · · · PATRICIA FINNERAN
·2· · · · · · · · DEPOSITION ERRATA SHEET
·3· ·Job ID: 180554
·4
·5· ·Case Caption: SANTOS, ET AL. V. EXPERIAN, ET AL.
·6
·7· · · · · DECLARATION UNDER PENALTY OF PERJURY
·8
·9· · · · · · · · · · · I declare under penalty of
10· · perjury that I have read the entire transcript of
11· · my Deposition taken in the above-captioned matter
12· · or the same has been read to me and the same is
13· · true and accurate, save and except for changes
14· · and/or corrections, if any, as indicated by me on
15· · the DEPOSITION ERRATA SHEET hereof, with the
16· · understanding that I offer these changes as if
17· · still under oath. Signed on ___________, 2020.
18· · ___________________________________
19· · · · · · · PATRICIA FINNERAN
20· *If Notary is required*
21· · · · · · ·SUBSCRIBED AND SWORN TO BEFORE ME THIS
22· · · · · · ·______ DAY OF _______________, 20____.
23
24· · · · · · ·_____________________________________
25· · · · · · · · ·NOTARY PUBLIC


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·4· ________________________________________________
·5· Reason for change:______________________________
·6· Page:________ Line:_______ Change to:___________
·7· ________________________________________________
·8· Reason for change:______________________________
·9· Page:________ Line:_______ Change to:___________
10· ________________________________________________
11· Reason for change:______________________________
12· Page:________ Line:_______ Change to:___________
13· ________________________________________________
14· Reason for change:______________________________
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16· ________________________________________________
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22· ________________________________________________
23· Reason for change:______________________________
24· Page:________ Line:_______ Change to:___________
25· ________________________________________________


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